                IN THE UNITED STATES DISTRICT COURT FOR THE
                        MIDDLE DISTRICT OF TENNESSEE
                             NASHVILLE DIVISION


JOHN RUFFINO, et al.,                    )
                                         )
      Plaintiffs,                        )
v.                                       )        NO. 3:17-cv-00725
                                         )        JUDGE CAMPBELL
DR. CLARK ARCHER, et al.                 )
                                         )
      Defendants.                        )


                                         ORDER


      Pending before the Court is Defendant Archer’s Motion to Dismiss (Doc. No. 9). For the

reasons stated in the accompanying Memorandum, Defendant Archer’s Motion to Dismiss is

DENIED.

      It is to ORDERED.


                                                  ___________________________________
                                                  WILLIAM L. CAMPBELL, JR.
                                                  UNITED STATES DISTRICT JUDGE




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